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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Bureau of Consumer Financial Protection (CFPB) CASE NUMBER:

8:20-cv-00043-JVS-ADS

i, Plaintiff(s)
Chou Team Realty, LLC, et al.

 

NOTICE OF
MEDIATION DATE

Defendant(s).

 

 

YOU ARE HEREBY NOTIFIED THAT THE PANEL MEDIATOR HAS SCHEDULED A MEDIATION
IN THE ABOVE-CAPTIONED CASE

for November 9, 2020 at 10:00 [YJa.m./ [ ]p.m.

 

LOCATION: Telephone conference

 

 

The mediation session must be completed and an ADR-03 Report must be filed on or before the
Court-ordered completion date.

 

 

 

Continuances are not favored and can only be granted by the Mediator up to the Court-ordered completion
date. Absent extraordinary circumstances, parties cannot request a continuance within three (3) business
days of a scheduled mediation.

Dated: July 6, 2020 _ Panel Mediator: Frank Kaplan

Address: 5473 Collingwood Circle
Calabasas, CA 91302

 

 

 

 

Phone: 310-429-2067

 

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